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 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                        Case No. 1:16-CR-000122-DAD-BAM-6
12                      Plaintiff,
13          v.                                        ORDER GRANTING REQUEST TO SEAL
                                                      DOCUMENT
14   RAFAEL DELATORRE,
                                                      (Doc. 126)
15                      Defendant.
16

17          The court has read and considered defendant Rafael DeLaTorre’s request to seal

18   document (Doc. 126) and the evaluation of A.A. Howsepian, M.D., Ph.D., the Court finds

19   compelling reasons to file the evaluation under seal. Therefore, the request of Dale A.

20   Blickenstaff, attorney for Rafael DeLaTorre, is granted.

21          The Clerk of the Court is directed to file Dr. A.A. Howsepian’s evaluation of defendant

22   Rafael DeLaTorre under seal.

23
     IT IS SO ORDERED.
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25      Dated:     March 30, 2017
                                                          UNITED STATES DISTRICT JUDGE
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